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 4
     Attorney for Defendant
 5
     RODOLFO GARCIA-SAINZ
 6

 7
                                      UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
      UNITED STATES OF AMERICA,                         Case No. 1:18-cr-00142-LJO-SKO
11
                         Plaintiff,
12
             v.                                         STIPULATION AND ORDER TO
13                                                      CONTINUE HEARING
      RODOLFO GARCIA-SAINZ,
14
                         Defendant.
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16
            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
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     counsel, RICHARD A. BESHWATE, JR. attorney for Defendant RODOLFO GARCIA-SAINZ,
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     and KATHLEEN SERVATIUS Assistant U.S. Attorney for Plaintiff, that the hearing currently
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     scheduled for October 28, 2019, at 11:30 a.m., shall be continued until DECEMBER 9, 2019, at
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     11:30 a.m.
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            This continuance is necessary due to defendant’s counsel being in a homicide trial which
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     has not allowed him to schedule a meeting with probation for the preparation of their report.
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            The parties stipulate that the time until the next hearing should be excluded from the
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     calculation of time under the Speedy Trial Act. The parties stipulate that the ends of justice are
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     served by the court excluding such time, so that counsel for the defendant may have reasonable
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     time necessary for effective preparation, taking into account the exercise of due diligence. 18
27
     U.S.C. §3161(h)(7)(B)(iv). The parties stipulate and agree that the interests of justice are served
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                                                       1
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 1   by granting this continuance outweigh the best interests of the public and the defendant in a

 2   speedy trial. 18 U.S.C. §3161(h)(7)(A).

 3          Dated: October 15, 2019               Respectfully submitted,

 4
                                                  /s/ RICHARD A. BESHWATE, JR.
 5                                                RICHARD A. BESHWATE, JR.
 6                                                Attorney for Defendant,
                                                  RODOLFO GARCIA-SAINZ
 7

 8
            Dated: October 15, 2019               Respectfully submitted,
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10                                                /s/ KATHLEEN SERVATIUS
                                                  KATHLEEN SERVATIUS
11                                                Assistant U.S. Attorney
12

13                                                ORDER
14          The sentencing hearing as to the above named defendant currently scheduled for October
15   28, 2019, at 11:30 a.m., is continued until DECEMBER 9, 2019, at 11:30 a.m.
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     IT IS SO ORDERED.
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        Dated:     October 15, 2019                        /s/ Lawrence J. O’Neill _____
18                                                UNITED STATES CHIEF DISTRICT JUDGE
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